      Case 17-17147-pmm                        Doc 109          Filed 08/25/22 Entered 08/25/22 14:05:22                        Desc Main
     Fill in this information to identify the case:            Document Page 1 of 3
     Debtor 1              TOMMY TAM


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Eastern District of Pennsylvania
                                                                                    (State)
     Case Number:          17-17147-PMM




Form 4100N
Notice of Final Cure Payment                                                                                                          10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                 SPECIALIZED LOAN SERVICING LLC                                             2

 Last 4 digits of any number you use to identify the debtor's account                         3   1   9   8

 Property Address:                              1608 W LEESPORT RD
                                                LEESPORT, PA 19533




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                            Amount

 a. Allowed prepetition arrearage:                                                                                    (a)   $        424.70

     b. Prepetition arrearage paid by the trustee :                                                                   (b)   $        424.70

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):               (c)   $           -0-

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)                (d)   $           -0-
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                               (e)   $           -0-

 f.       Postpetition arrearage paid by the trustee :                                                              + (f)   $           -0-

     g. Total. Add lines b, d, and f.                                                                                 (g)   $        424.70



 Part 3:             Postpetition Mortgage Payment

 Check one

 ¨ Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                   $
         The next postpetition payment is due on                    /    /
                                                                MM / DD / YYYY

 ý Mortgage is paid directly by the debtor(s).


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Debtor 1     TOMMY TAM                                                        Case number   (if known)   17-17147-PMM
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              û/s/ Scott F. Waterman
                    Signature
                                                                                 Date    08/25/2022


 Trustee            Scott F. Waterman

 Address            2901 St. Lawrence Avenue, Suite 100
                    Reading, PA 19606



 Contact phone      (610) 779-1313                                Email   info@ReadingCh13.com




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Debtor 1     TOMMY TAM                                                      Case number   (if known)   17-17147-PMM
             Name




History Of Payments
Part 2 - B
Claim ID Name                     Creditor Type                Date         Check # Posting Description                    Amount
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         04/17/2020   17201006Disbursement To Creditor/Principal       28.22
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         05/22/2020   17202501Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         06/19/2020   17203839Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         07/17/2020   17205184Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         08/21/2020   17206612Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         09/29/2020   17208085Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         10/23/2020   17209374Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         11/20/2020   17210571Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         12/21/2020   17211808Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         01/22/2021   17213118Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         02/23/2021   17214422Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         03/19/2021   17215546Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         04/23/2021   17216712Disbursement To Creditor/Principal       20.18
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         05/25/2021   17217828Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         06/25/2021   17218911Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         07/23/2021   17219961Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         08/20/2021   17220988Disbursement To Creditor/Principal       19.53
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         09/24/2021   17222059Disbursement To Creditor/Principal       19.54
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         10/22/2021   17222995Disbursement To Creditor/Principal       19.97
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         11/19/2021   17223934Disbursement To Creditor/Principal       19.97
2        SPECIALIZED LOAN SERVICING
                                  Pre-Petition
                                    LLC        Arrears         12/17/2021   17224868Disbursement To Creditor/Principal       19.97
                                                                                         Total for Part 2 - B:              424.70




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